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                  UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETTS


CONNOR B., by his next             )
friend, ROCHELLE VIGURS,           )
ET AL.,                            )
         Plaintiffs                )
                                   )
               v.                  ) C.A. No. 10-cv-30073-MAP
                                   )
DEVAL L. PATRICK, ET AL.,          )
         Defendants                )



                MEMORANDUM AND ORDER REGARDING
          DEFENDANT PATRICK’S MOTION TO DISMISS AND
                DEFENDANTS’ MOTION TO DISMISS
                      (Dkt. Nos. 17 & 18)

                          January 4, 2011

PONSOR, D.J.

                          I. INTRODUCTION

    Plaintiffs bring this proposed class action on behalf

of all children who have been (or will be) placed in the

custody of the Massachusetts Department of Children and

Families (“DCF”) as a result of a state juvenile court order

adjudicating them in need of “care and protection” due to

abuse or neglect by their parents.         Plaintiffs challenge

certain facets of the foster care system in Massachusetts
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and seek injunctive relief under provisions of the United

States Constitution and under the federal Adoption

Assistance and Child Welfare Act of 1980, 42 U.S.C. §§ 670

et seq. (“AACWA”).

    Presently before this court are a motion to dismiss

filed by Defendant Patrick (Dkt. No. 17) and a joint motion

to dismiss on behalf of all Defendants (Dkt. No. 18).                 For

the reasons discussed below, Defendants’ motions will be

denied.

                              II. FACTS

    The six named Plaintiffs -- Connor B., Adam S., Camila

R., Andre S., Seth T., and Rakeem D. -- are children who

were transferred into DCF custody as a result of abuse or

neglect by their parents.       DCF may obtain custody over a

child in a number of ways, including a “care and protection”

proceeding instituted pursuant to Mass. Gen. Laws ch. 119,

§§ 24-26, which targets children who suffer parental neglect

or abuse.   Plaintiffs bring this action on behalf of all

children who enter DCF’s foster care custody as a result of

such proceedings.     Notably, the action does not involve

children over whom DCF has obtained custody through other


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means, such as children in need of services (“CHINS”) under

Mass. Gen Laws ch. 119, §§ 39E et seq., or children in DCF

custody pursuant to a voluntary placement agreement signed

by their parents.

    Defendants, all sued in their official capacities, are

Angelo McClain, DCF Commissioner; Judyann Bigby, Secretary

of the Massachusetts Executive Office of Health and Human

Services (“EOHHS”), which oversees DCF; and Governor Deval

Patrick.

    Plaintiffs allege that approximately 8,500 children in

DCF custody are exposed to severe potential harm, including:

abuse and neglect by foster care parents; movement from one

foster home to another with damaging frequency; placement in

foster homes ill-suited to address their particular needs;

languishing for years without permanent placement and then

“aging out” of DCF custody without a permanent family or

adequate preparation for adult life; and a lack of essential

services, including sibling visitation and adequate medical,

dental, mental health, and educational services.             (Dkt. No.

1, Compl. ¶¶ 164 - 214.)

    Plaintiffs allege that these harms result from systemic


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deficiencies within DCF, including failure to maintain an

adequately staffed and appropriately trained child welfare

workforce; failure to properly manage foster care

placements; failure to properly develop and implement case

plans and service plans for foster children and their

families; and failure to access available federal funding.

(Dkt No. 1, Compl. ¶¶ 215 - 298.)

    Plaintiffs bring this class action seeking an equitable

remedy to these alleged failures in the Massachusetts foster

care system.   The complaint comprises four counts.            Counts

I, II, and IV allege violations of Plaintiffs’ rights under

the United States Constitution, namely, Plaintiffs’

substantive due process rights under the Fourteenth

Amendment; Plaintiffs’ liberty interests, privacy interests,

and associational rights under the First, Ninth, and

Fourteenth Amendments; and Plaintiffs’ procedural due

process rights under the Fourteenth Amendment.            Count III

alleges multiple violations of the Adoption Assistance and

Child Welfare Act of 1980, 42 U.S.C. §§ 670 et seq.

(“AACWA”).

    Plaintiffs seek injunctive relief requiring DCF to


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implement the following reforms:

    1.   Decrease caseworker caseloads;

    2.   Improve caseworker training;

    3.   Comply with recommendations of qualified

         professionals to improve essential services for

         the Plaintiff class;

    4.   Increase monitoring by caseworkers of the

         Plaintiff class;

    5.   Provide adequate visitation for the Plaintiff

         class with their parents and siblings;

    6.   Prepare timely case plans and case reviews;

    7.   Maintain a quality assurance system consistent

         with national standards;

    8.   Ensure that an adequately staffed and trained

         contract monitoring unit is created within the

         state’s central office for purposes of overseeing

         and managing the purchased services of the agency;

         and

    9.   Pay foster care reimbursement rates as set forth

         in the AACWA.

(Compl., Prayer for Relief (e).)         In addition, Plaintiffs


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ask that the court appoint a neutral expert to oversee the

implementation of these reforms.         (Id.)

                           III. DISCUSSION

     Defendants now move to dismiss all four counts in the

complaint.   Although Defendant Patrick filed a separate

motion to dismiss (Dkt. No. 17), his arguments run parallel

with those offered by the other Defendants in their joint

motion to dismiss (Dkt. No. 18).         The court will therefore

address Defendant Patrick’s arguments in the context of the

joint motion to dismiss.

     In addition to attacking the sufficiency of Plaintiffs’

allegations, Defendants offer three threshold arguments: (1)

Plaintiffs lack standing; (2) the court should abstain from

hearing the case pursuant to Younger v. Harris, 401 U.S. 37

(1971); and (3) the doctrine of sovereign immunity bars all

claims as to Defendant Patrick.        The court will address

these issues before turning to the sufficiency of the

complaint’s factual allegations supporting Plaintiffs’

constitutional and statutory claims.

A.   Standing.

     In accordance with Article III of the United States


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Constitution, a plaintiff must have standing to bring a

claim before a federal court.          Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-561 (1992).          To satisfy Article

III’s standing requirement, a plaintiff must assert (1) an

injury in fact that is (a) concrete and particularized and

(b) actual or imminent; (2) a causal connection between the

above injury and a defendant’s conduct; and (3) a likelihood

that judicial relief will redress the above injury.              Id.

In cases involving requests for injunctive relief, the

plaintiff must satisfy an additional requirement by alleging

an immediate threat of future injury.          See City of Los

Angeles v. Lyons, 461 U.S. 95, 111 (1983).           While the

plaintiff bears the burden of establishing standing, “at the

pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice, for on a

motion to dismiss we presume that general allegations

embrace those specific facts that are necessary to support

the claim.”   Lujan, 504 U.S. at 561 (internal citation and

quotation marks omitted).

    Defendants challenge Plaintiffs’ standing on two

grounds: (1) Plaintiffs fail to establish a causal


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connection between the harms suffered and the systemic

deficiencies alleged; and (2) Plaintiffs cannot prove an

immediate threat of future injury.

       1.   Causal Connection.

       Defendants’ principal contention is that Plaintiffs

fail to “establish a link between the systemic class relief

that they seek and any actual harm allegedly suffered by the

six named plaintiffs.”        (Dkt. No. 29, Defs.’ Reply Mem. at

16.)    Defendants highlight several alleged systemic

deficiencies recited in the complaint, including

unmanageable caseloads and infrequent contact between social

workers and the Plaintiff class.           Because these claims

amount to “generalized complaints of institutional

mismanagement,” they argue, Plaintiffs cannot satisfy the

element of causation.        (Id. at 24 (citation omitted).)

       Defendants’ arguments are unpersuasive.           Under the

second prong of the Lujan test, a plaintiff need not allege

that the defendant’s conduct was the proximate cause of the

plaintiff’s injuries, but merely that the injury was “fairly

traceable” to the challenged action of the defendant.

Lujan, 504 U.S. at 590; see also Focus on the Family v.


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Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1273 (11th

Cir. 2003) (“Importantly, in evaluating Article III’s

causation (or ‘traceability’) requirement, we are concerned

with something less than the concept of ‘proximate cause.’ .

. . [E]ven harms that flow indirectly from the action in

question can be said to be ‘fairly traceable’ to that action

for standing purposes.”).       The alleged misconduct at issue

here includes an understaffed and improperly trained

workforce, infrequent contact between children and

caseworkers, an inability to provide children with basic

health and educational services, failure to develop and

implement case plans, and a lack of resources due to DCF’s

inability to secure federal funding.          (Dkt. No. 1, Compl. ¶¶

215 - 298.)   Assuming all of Plaintiffs’ allegations to be

true, as the court must at this stage, it is at least

arguably clear that the harms suffered by children in DCF

custody are fairly traceable to these systemic failures

within DCF.

    Contrary to Defendants’ assertions, Plaintiffs need not

prove with specificity at this stage how every harm suffered

by every named Plaintiff relates to a particular defect in


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the system.   Cf. Lewis v. Casey, 518 U.S. 343, 357 (“The

general allegations of the complaint in the present case may

well have sufficed to claim injury by named plaintiffs, and

hence standing to demand remediation, with respect to

various alleged inadequacies in the prison system . . .”).

Defendants’ arguments may have greater force if, after

discovery, it becomes clear that a named Plaintiff cannot

link the harm he or she suffered to a particular action or

inaction by DCF.    In response to a threshold motion to

dismiss, however, such a finding would be premature.

    2.   Immediate Threat of Future Injury.

    Defendants correctly observe that, due to the nature of

the relief sought, Plaintiffs cannot establish standing by

relying on past injury alone.          Where a complaint requests

prospective injunctive relief, the plaintiff must allege an

immediate threat of future injury.          See Lyons, 461 U.S. at

111 (holding that plaintiff lacked standing to bring claim

seeking to enjoin the use of “chokeholds” by police officers

because plaintiff did not establish a policy of using this

technique and, thus, its future use was merely speculative).

“Past exposure to illegal conduct does not in itself show a


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present case or controversy regarding injunctive relief

. . . if unaccompanied by any continuing, present adverse

effects.”   O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974)

(holding that plaintiffs lacked standing to bring claim

against county magistrate for illegal bond setting,

sentencing, and jury fee practices because none of the named

plaintiffs were serving illegal sentences or awaiting

trial).

    Citing Lyons and O’Shea, Defendants argue that

Plaintiffs lack standing because they have not established

an imminent threat of future injury.         Assuming arguendo that

Plaintiffs suffered past harms while in DCF custody,

Defendants suggest that these harms are unlikely to reoccur.

    This case is clearly distinguishable from the cases

Defendants rely upon.     Here, Plaintiffs allege, unlike the

plaintiffs in Lyons and O’Shea, that Defendants maintain

policies and practices that continue to harm them.             Given

that Plaintiffs remain in DCF custody and have not been

placed in permanent homes, they may fairly argue that they

suffer ongoing harm resulting from the alleged systemic

failures within DCF.     It is well established that


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allegations of ongoing harm satisfy Article III’s standing

requirement.    See County of Riverside v. McLaughlin, 500

U.S. 44, 51 (1991) (contrasting Lyons “in which the

constitutionally objectionable practice ceased altogether”

and holding that plaintiffs had standing because they

alleged “a direct and current injury” resulting from an

unlawful detention).      Thus, because they assert an ongoing

injury fairly traceable to Defendants’ allegedly unlawful

conduct, Plaintiffs have standing to bring their claims.1

B.   Abstention.

     The Supreme Court has identified several discrete

circumstances that require federal courts to abstain from

adjudicating a case.      Here, Defendants argue that abstention

is appropriate under Younger v. Harris, 401 U.S. 37 (1971).

     In Younger and its progeny, the Supreme Court

prohibited federal courts from interfering with pending



     1
      Other federal courts applying Lujan to class actions
similar to this one have reached the same conclusion. See,
e.g., 31 Foster Children v. Bush, 329 F.3d 1255, 1266 (11th
Cir. 2003); Clark K. v. Guinn, Civ. No. 2:06-cv-1068, 2007
WL 1435428, at *5 (D. Nev. May 14, 2007); Dwayne B. v.
Granholm, Civ. No. 06-13548, 2007 WL 1140920, at *3-4 (E.D.
Mich. April 17, 2007); Carson P. v. Heineman, 240 F.R.D.
456, 512-13 (D. Neb. 2007).

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state judicial or administrative proceedings.           See id.;

Huffman v. Pursue, Ltd., 420 U.S. 592 (1975); Moore v. Sims,

442 U.S. 415 (1979); Juidice v. Vail, 430 U.S. 327 (1977).

Although Younger involved a state criminal proceeding, the

Supreme Court has extended the doctrine to two types of

state civil proceedings: (1) quasi-criminal or “coercive”

state civil proceedings brought by the state as enforcement

actions against an individual; and (2) state civil

proceedings brought “uniquely in furtherance of the

fundamental workings of a state’s judicial system.”             Rio

Grande Cmty. Health Ctr. v. Rullan, 397 F.3d 56, 69 (1st

Cir. 2005).

    The Court later refined the Younger analysis in

Middlesex County Ethics Commission v. Garden State Bar

Association, holding that Younger applies to (1) an ongoing

state judicial proceeding involving the federal plaintiff

that (2) implicates important state interests and (3) that

provides an adequate opportunity for the federal plaintiff

to assert federal claims.      457 U.S. 423, 432 (1982).         The

first Middlesex prong implicitly includes a requirement that

the federal proceeding interfere with an ongoing state


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proceeding.   See Rossi v. Gemma, 489 F.3d 26, 35 (1st Cir.

2007) (observing that courts must first consider the

“threshold issue of interference” before moving on to the

balance of the Middlesex test); see also 31 Foster Children

v. Bush, 329 F.3d 1255, 1275-76 (11th Cir. 2003) (citing

several cases recognizing this implicit requirement and

following their lead).

    As discussed below, Younger is inapplicable here

because this case does not involve the type of state

proceeding that would require abstention and because the

Middlesex factors have not been satisfied.

    1.    Nature of the State Proceeding.

    Defendants argue that this class action will interfere

with ongoing judicial proceedings in Massachusetts juvenile

courts.   However, these juvenile court cases do not fall

within either of the two narrow exceptions in which the

Supreme Court extended Younger to civil proceedings.             As

noted, the Supreme Court has applied Younger outside of the

criminal context only to “coercive” enforcement actions

against an individual and to proceedings brought “uniquely

in furtherance of the fundamental workings of a state’s


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judicial system,” such as the state’s contempt process or

its method of enforcing judgments.         See Rio Grande, 397 F.3d

at 69 (discussing numerous examples of each).           This case

involves neither.

    Defendants suggest that Plaintiffs’ claims implicate

ongoing proceedings involving the termination of parental

rights (“TPR” or “care and protection” proceedings), whereby

juvenile courts place children in state custody due to abuse

or neglect by their parents.       Presumably, then, this case

would fall under the category of coercive enforcement

actions warranting abstention.         See Moore v. Sims, 442 U.S.

415, 425-26 (1979) (holding that abstention was appropriate

under Younger where parents filed suit in federal court

challenging ongoing TPR proceedings in a Texas state court).

    However, Defendants’ argument fails to appreciate that

Plaintiffs’ claims relate only to alleged injuries suffered

while in DCF custody.     TPR proceedings are the means by

which Plaintiffs enter DCF custody, and Plaintiffs expressly

state that they are not challenging any aspect of those

proceedings in this case.      As explained below, state law

greatly circumscribes the role of juvenile courts once DCF,


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an executive agency, takes custody of a child.            Where, as

here, the state court proceeding is limited to a review of

executive action, the Supreme Court has made clear that

Younger abstention is inappropriate.         See New Orleans Public

Serv., Inc. v. Council of City of New Orleans, 491 U.S. 350,

368 (1989) (holding that Younger does not apply to a “state

judicial proceeding reviewing legislative or executive

action” because “[s]uch a broad abstention requirement would

make a mockery of the rule that only exceptional

circumstances” justify abstention); see also Rio Grande, 397

F.3d at 70 (holding that Younger did not apply where state

proceeding challenged executive action, namely, a failure by

Puerto Rico’s Secretary of Health to reimburse plaintiffs

for services provided to Medicaid patients).

    2.   Applying the Middlesex Factors.

    Application of the Middlesex factors further

illustrates why Younger and its progeny do not require

abstention here.

         a.    Interference with an Ongoing State Proceeding.

    First, Defendants fail to show how the present case

would interfere with ongoing state proceedings.            Defendants


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argue that the requested injunctive relief, such as

determining the propriety and safety of placements, the

adequacy of services, the frequency of visitation, and the

appropriateness of DCF’s plans to achieve permanency for

each child, “necessarily must be addressed in the ongoing

proceedings by Juvenile Court judges, who are vested with

the authority and the obligation to render determinations

and issue orders on each of these issues.”           (Dkt. No. 20,

Defs.’ Mem. at 59-60.)

    Defendants’ argument misapprehends the nature of

Plaintiffs’ claims.     As support for their contention that

this case threatens to constrain state juvenile courts,

Defendants highlight several cases that are clearly

inapposite.    These authorities fall into two categories: (1)

child-in-need-of-services(“CHINS”) cases; and (2)

termination-of-parental-rights (“TPR”) cases.

    Under Mass. Gen. Laws ch. 119, § 39E, parents may

petition a juvenile court to label their child a “child in

need of services,” at which time the court can help rectify

problems such as the child’s obstinance at home or truancy

at school.    The role of juvenile courts is expanded


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considerably in a CHINS case.          See In re Angela, 833 N.E.2d

575 (Mass. 2005) (“Unlike most other commitment proceedings,

where the person is committed to the care of an agency of a

department of the State . . . [in a CHINS case] the Juvenile

Court retains control over the treatment of the child who is

adjudicated a CHINS and the dispositional order is revisited

periodically.”).

    The same is true for TPR cases.          See Mass. Gen. Laws

ch. 119, § 26 (describing the direct role of the courts in

determining a child’s fate in TPR proceedings); see also

Adoption of Gregory, 747 N.E.2d 120, 128-29 (Mass. 2001)

(affirming juvenile court’s decision to terminate parental

rights); Adoption of Daisy, 934 N.E.2d 252 (Mass. App. Ct.

2010) (same).   Plaintiffs concede that “TPR proceedings may

thus be entitled to Younger deference,” (Dkt. No. 26, Pls.’

Mem. at 26 n.19), but correctly observe that Defendants have

failed to show how the relief requested in this case would

in any way interfere with either a TPR or a CHINS

proceeding.

    As noted previously, Plaintiffs’ claims do not

implicate the proceedings themselves, only the aftermath of


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the proceedings.     In stark contrast to the discretion

afforded juvenile courts in TPR and CHINS proceedings,

Massachusetts law greatly restricts the juvenile courts’

discretion once a child is placed in DCF’s permanent

custody.   In fact, the Massachusetts Supreme Judicial Court

(“SJC”) has made clear that DCF controls the fate of these

children and that the juvenile courts play a very limited

oversight role:

    When [DCF] is granted permanent custody of a
    child, it has virtually free rein to place that
    child in a foster home of its choosing, to decree
    whether, how much, and what sort of family
    visitation there should be, and to decide whether
    to have the child adopted. This discretion is
    subject only to a petition for review which cannot
    be filed more than once every six months.

Care & Protection of Three Minors, 467 N.E.2d 851, 861

(Mass. 1984) (emphasis added).         In other words, “‘the courts

play a minimal role in exercising the state’s care and

protection policy.     The real locus of decision making is

within [DCF]. . . .’”     Id. (quoting Catherine E. Campbell,

The Neglected Child, 4 Suffolk U. L. Rev. 631, 645-646

(1970)).

    In Care & Protection of Isaac, 646 N.E.2d 1034 (Mass.



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1995), the SJC more clearly defined the limited role that

juvenile courts play once DCF obtains permanent custody,

holding that courts do not have authority to overrule a

residential placement decision made by DCF unless the judge

finds that the decision was arbitrary or capricious and

amounts to an abuse of discretion.           In so holding, the SJC

observed that Mass. Gen. Laws ch. 119 “contain[s] no general

grant of authority to a judge to enter an order intended to

be in a child’s best interests.”          Id. at 609.     Thus, “when a

child is placed in the permanent custody of the department,

decisions related to normal incidents of custody, by the

terms of §§ 21, 26, and 32 are committed to the discretion

of the department,” and the juvenile court may only “offer

guidance to the department concerning a child’s residence.”

Id.

      The scope of state courts’ discretion is critical to

the Younger analysis.       Multiple federal courts facing nearly

identical challenges to state foster-care systems have

reached disparate conclusions regarding the applicability of




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Younger.2   The case of Carson P. v. Heineman, 240 F.R.D.

456, 529 (D. Neb. 2007), illustrates how differences among

states in the power afforded juvenile courts over foster-

care children affect these outcomes:

    As noted by Kenny A.[v. Perdue, 218 F.R.D. 277,
    286 (N.D. Ga. 2003)], “under Georgia law, once the
    juvenile court grants legal custody of a child to
    DFCS, the court is powerless to order DFCS to give
    physical custody of the child to any particular
    foster parent or otherwise restrict the actual
    placement of the child.” In Kenny A., the
    juvenile court’s authority over the state social
    service department was very limited, and the
    federal court could arguably assist that juvenile
    court by issuing orders against the state agency,

    2
       Several federal courts have held that Younger
requires abstention under similar circumstances. See, e.g.,
31 Foster Children v. Bush, 329 F.3d 1255 (11th Cir. 2003),
cert denied, 540 U.S. 984 (2003); J.B. v. Valdez, 186 F.3d
1280 (10th Cir. 1999); Joseph A. v. Ingram, 275 F.3d 1253
(10th Cir. 2002); E.T. v. George, 681 F. Supp. 2d 1151
(E.D. Cal. 2010); Carson P. v. Heineman, 240 F.R.D. 456 (D.
Neb. 2007); Laurie Q. v. Contra Costa County, 304 F. Supp.
2d 1185 (N.D. Cal. 2004).
     Other courts have held that Younger does not apply.
See, e.g., LaShawn A. v. Kelly, 990 F.2d 1319, 1322-23 (D.C.
Cir. 1993); L.H. v. Jamieson, 643 F.2d 1351 (9th Cir. 1981);
Clark K. v. Guinn. No. 2:06-cv-1068, 2007 WL 1435428
(D.Nev., May 14, 2007); Dwayne B. v. Granholm, 2007 WL
1140920 (E.D. Mich. Apr. 17, 2007); Olivia Y. ex rel.
Johnson v. Barbour, 351 F. Supp. 2d 543, 567-68 (S.D. Miss.
2004); Kenny A. v. Perdue, 218 F.R.D. 277, 286 (N.D. Ga.
2003); Brian A. v. Sundquist, 149 F. Supp. 2d 941 (M.D. Tenn
2000); Baby Neal v. Casey, 821 F. Supp. 320, 331-33 (E.D.
Pa. 1993), rev’d on other grounds, 43 F.3d 48 (3d Cir.
1994).

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      orders that the juvenile court itself was
      powerless to enter. Such is not the case in
      Nebraska.

Id.   (citations omitted).       Highlighting, in contrast, the

“expansive scope of authority” afforded juvenile court

judges in Nebraska to “decide the appropriate placement for

children in [state] custody,” Carson P. held that Younger

abstention was appropriate.         Id. at 527.

      This class action is closer to Kenny A. and its sister

cases in which federal courts found Younger inapplicable

because the plaintiffs sought to enjoin actions taken by an

executive agency, not the courts.          See, e.g., Kenny A. v.

Perdue, 218 F.R.D. 277, 286 (N.D. Ga. 2003) (“[T]he

declaratory and injunctive relief plaintiffs seek is not

directed at [plaintiffs’] review hearings, or at Georgia’s

juvenile courts, juvenile court judges, or juvenile court

personnel,” but rather “at executive branch defendants to

remedy their alleged failures as plaintiffs’ custodians.”);

Dwayne B. v. Granholm, Civ. No. 06-13548, 2007 WL 1140920,

at *6 (E.D. Mich. April 17, 2007) (“The relief sought here

is not directed at the juvenile courts. It is directed at

the [Michigan] executive branch,” and therefore


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“[d]efendants’ claim that there are ongoing judicial

proceedings is misleading.”); Brian A. v. Sundquist, 149 F.

Supp. 2d 941, 957 (M.D. Tenn 2000) (“Plaintiffs seek

injunctive relief against the [Tennessee] Department of

Children’s Services, not the courts” and, therefore,

“nothing about this litigation seeks to interfere with or

enjoin” the state proceedings).

    As described above, once a child is placed in DCF

custody, Massachusetts law severely restricts the role of

juvenile courts.    Unlike in CHINS or TPR cases, the courts’

authority is limited to periodic, highly deferential review

of DCF’s decisions.     Any indirect impact this case has on

the juvenile courts is slight and fails to rise to the

requisite level of interference articulated by the First

Circuit.   See Rio Grande, 397 at 69 (citing Gilbertson v.

Albright, 381 F.3d 965, 977-78 (9th Cir. 2004))

(“Interference is . . .      usually expressed as a proceeding

that either enjoins the state proceeding or has the

‘practical effect’ of doing so.”).         Because Plaintiffs’

requested relief threatens to impose limitations on DCF, not

the juvenile courts, Younger is inapplicable.


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         b.    Important State Interests.

    The second Middlesex factor, requiring that the state

proceedings implicate important state interests, is easily

satisfied here.    See Petition of Dep’t of Public Welfare to

Dispense with Consent to Adoption, 381 N.E.2d 565, 572

(Mass. 1978) (holding “state’s interest in protecting the

welfare of children” constitutes a compelling state

interest).    The only remaining question, then, is whether

the state proceedings provide an adequate opportunity for

Plaintiffs to assert their federal claims.           See Middlesex,

457 U.S. at 432.

         c. Adequate Opportunity to Assert Federal Claims.

    The final requirement under Younger is that the federal

plaintiffs had an adequate opportunity to present their

federal claims in the state proceeding.          See Middlesex

County Ethics Comm’n, 457 U.S. at 432.          Defendants emphasize

that Massachusetts courts have the authority to hear federal

constitutional and statutory claims.         It does not matter,

they argue, whether the juvenile courts represent a natural

or proper place for bringing those federal claims.             What

matters is that the courts could, in theory, hear those


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claims, and Plaintiffs chose not to avail themselves of an

opportunity to present them.       In support, Defendants quote

Moore v. Sims, in which the Supreme Court stated that

“abstention is appropriate unless state law clearly bars the

interposition of the [federal statutory] and constitutional

claims.” 442 U.S. 415, 425-26 (1979).

    Defendants’ reliance on this language in Moore is

flawed for several reasons.       First, Defendants overlook a

later clarification in Moore, which states that “the only

pertinent inquiry is whether the state proceedings afford an

adequate opportunity to raise the constitutional claims.”

Id. at 430. (emphasis added).          Second, Moore was decided

before Middlesex, and Middlesex repeatedly observes that the

state forum must present an “adequate opportunity” to

present the federal claims.3      See Middlesex County Ethics

Comm’n, 457 U.S. at 432 (emphasis added).          Third, several



    3
      Defendants’ reliance on Juidice v. Vail, 430 U.S. 327
(1977) is similarly misplaced. Juidice employs slightly
different phrasing, asking whether the plaintiffs were
given “an opportunity to fairly pursue their constitutional
claims in the ongoing state court proceedings.” Id. at 337
(emphasis added). It is unclear how, if it all, this
language alters the analysis. In any event, Juidice, like
Moore, was decided before Middlesex.

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federal courts of appeals interpreting this line of case law

have noted that adequacy is, indeed, a central

consideration.    For instance, the United States Court of

Appeals for the D.C. Circuit explained that courts must

consider not only whether it was theoretically possible for

the plaintiffs to raise their federal claims in the state

proceeding, but also whether the state proceeding provided

an “inadequate or inappropriate forum” for pursuing those

claims.    LaShawn A. v. Kelly, 990 F.2d 1319, 1322 (D.C. Cir.

1993).    Holding that the D.C. family court system was an

inadequate forum for class-action plaintiffs to present a

challenge to the D.C. foster-care system, the court

explained that the state proceedings “contemplate issues

centering on the care of a child by his or her parent” and,

thus, “are not suitable arenas in which to grapple with

broad issues external to the parent-child relationship.”

Id. at 1322-23 (citations and quotation marks omitted).

    Although not addressing this issue head-on, a Ninth

Circuit opinion reflected a similar understanding of

Younger, holding that abstention was inappropriate where the

plaintiffs’ claims were “not of a sort that would be


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presented during the normal course of a state proceeding.”

L.H. v. Jamieson, 643 F.2d 1351, 1354 (9th Cir. 1981).                The

Tenth and Eleventh Circuits, while ultimately affirming the

district courts’ decisions to abstain under Younger, also

focused their analyses on whether the state proceeding

offered an adequate forum for the plaintiffs to present

their federal claims.     See J.B. v. Valdez, 186 F.3d 1280

(10th Cir. 1999); 31 Foster Children v. Bush, 329 F.3d 1255

(11th Cir. 2003).

    Like the plaintiff class in LaShawn A., Plaintiffs here

also bring a “multifaceted request for broad-based

injunctive relief based on the Constitution and on federal

. . . statutory law.”     990 F.2d at 1323.       Although

Defendants maintain that Plaintiffs in theory can assert

federal claims in state juvenile courts, they fail to

explain how those courts present an adequate forum for

Plaintiffs’ claims.     In fact, Massachusetts juvenile courts

are tasked with handling difficult questions of family law

on an ad-hoc basis, not with crafting broad-based injunctive

relief that could potentially revamp an executive agency.

They cannot and do not afford Plaintiffs an adequate


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opportunity to seek relief for the systemic failures alleged

in the complaint.     Thus, abstention is inappropriate.

 C. Sovereign Immunity.

    Defendant Deval Patrick, as Governor of Massachusetts,

argues that the doctrine of sovereign immunity precludes all

claims against him.     Specifically, Defendant Patrick asserts

that Plaintiffs have failed to establish a sufficient

connection between any actions taken by him and the harms

alleged.   The argument is unpersuasive.

    The Eleventh Amendment generally bars suits in federal

court against unconsenting states.         See Rosie D. ex. rel.

John D. v. Smith, 310 F.3d 230, 234 (1st Cir. 2002).

However, in Ex Parte Young, 209 U.S. 123 (1908), the Supreme

Court recognized a narrow exception for claims seeking

prospective injunctive relief against state actors.             Ex

Parte Young allows federal courts, “notwithstanding the

absence of consent, waiver or evidence of congressional

assertion of national hegemony, [to] enjoin state officials

to conform future conduct to the requirements of federal

law.”   Rosie D., 310 F.3d at 234 (holding that Eleventh

Amendment did not bar Medicaid beneficiaries from seeking


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prospective injunctive relief in federal court) (citations

and quotation marks omitted).          As long as the state official

“has some connection with the enforcement of the act,” that

official is an “appropriate defendant.”          Shell Oil v. Noel,

608 F.2d 208, 211 (1st Cir. 1979).          “It is a question of

federal jurisdictional law whether the connection is

sufficiently intimate to meet the requirements of Ex parte

Young.”    Id.

    Here, in addition to his general executive and

budgetary authority, Governor Patrick has direct supervisory

authority over Defendant Bigby, the Secretary of the

Massachusetts Executive Office of Health and Human Services,

who develops and implements DCF policies and programs.                See

Mass. Gen. Laws ch. 6A, § 16.          Defendant Patrick also

approves the appointment of the DCF Commissioner, Defendant

McClain.    Mass. Gen. Laws ch. 18B, § 6.

    Defendant Patrick concedes, moreover, that in 2008 the

state legislature codified an executive order creating the

Office of the Child Advocate, “who is appointed by and

reports directly to the Governor” and is charged with

reviewing “[DCF’s] programs and procedures” and resolving


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“complaints relative to the provision of services to

children by an executive agency.” (Dkt. No. 20, Defs.’ Mem.

at 48 (quoting Mass. Gen. Laws ch. 18C, §5).)

Significantly, Defendant Patrick’s issuance of the executive

order initially establishing the Office represents direct

involvement in the ongoing maintenance of the state child

welfare system.

    The fact that on a daily basis Defendant Patrick plays

a somewhat detached, supervisory role is inconsequential.

See Papasan v. Allain, 478 U.S. 265, 282 n.14 (1986)

(holding that Eleventh Amendment did not bar suit against

secretary of state responsible for “general supervision” of

the administration of public school land funds by local

school officials); Futernick v. Sumpter Twp., 78 F.3d 1051,

1055 n.5 (6th Cir. 1996) (rejecting as “ridiculous”

defendants’ argument that “only the officer with immediate

control over the challenged act or omission is amenable to §

1983").   Certainly, Defendant Patrick has “some connection”

with the enforcement of DCF policy, and that connection is

“sufficiently intimate” to remove him from the Eleventh

Amendment’s shield of sovereign immunity.          Shell Oil, 608


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F.2d at 211.    Therefore, Defendant Patrick’s Motion to

Dismiss (Dkt No. 30) will be denied.

D.   Plaintiffs’ Constitutional Claims (Counts One, Two, and
     Four).

     A complaint is subject to dismissal under Rule 12(b)(6)

if, after accepting all well-pleaded facts as true and
drawing all reasonable inferences in favor of a plaintiff,

the court determines that it “fails to state a claim upon
which relief can be granted.”           Edes v. Verizon Commc’ns,
Inc., 417 F.3d 133, 137 (1st Cir. 2005); Fed. R. Civ. P.

12(b)(6).   To survive a motion to dismiss, a complaint must

contain “sufficient factual matter” to state a claim to
relief that is both actionable as a matter of law and

“‘plausible on its face.’”       Ashcroft v. Iqbal, 129 S. Ct.
1937, 1949 (2009) (quoting Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 570 (2007)).       “Threadbare recitals of the
elements of a cause of action, supported by mere conclusory
statements, do not suffice.”        Id.     “Dismissal for failure to
state a claim is appropriate if the complaint fails to set

forth ‘factual allegations, either direct or inferential,
respecting each material element necessary to sustain
recovery under some actionable legal theory.’”             Gagliardi v.
Sullivan, 513 F.3d 301, 305 (1st Cir. 2008) (quoting Centro
Medico del Turabo, Inc. v. Feliciano de Melecio, 406 F.3d 1,

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6 (1st Cir. 2005)).

    1.   Substantive Due Process (Count I).

    The Due Process Clause of the Fourteenth Amendment

provides that “[n]o State shall . . . deprive any person of

life, liberty, or property, without due process of law.”

U.S. Const. amend. XIV, § 1.       To establish a substantive due

process violation, a plaintiff must first show a deprivation

of life, liberty, or property.         DeShaney v. Winnebago County

Dep’t of Social Servs., 489 U.S. 189, 196 (1989).             The Due

Process Clause generally confers no affirmative right to

governmental aid, even when such aid may be necessary to

protect life, liberty, or property interests.           Id.    However,

a narrow exception exists for situations involving a

“special relationship” between a plaintiff and the state.

Id. at 200.   ”[I]t is the State’s affirmative act of

restraining the individual’s freedom to act on his own

behalf -- through incarceration, institutionalization, or

other similar restraint of personal liberty -- which is the

‘deprivation of liberty’ triggering the protections of the

Due Process Clause.”     Id.

    The Supreme Court has found such a relationship between


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the state and incarcerated prisoners, Estelle v. Gamble, 429

U.S. 97 (1976), and between the state and involuntarily

committed mental patients, Youngberg v. Romeo, 457 U.S. 307

(1982).   In DeShaney, however, the Supreme Court declined to

find a special relationship between the state and children

in the custody of private actors, such as their parents.

Significantly, though, the Supreme Court noted that its

holding might well differ if the plaintiffs suffered abuse

at the hands of agents of the state, such as foster parents.

DeShaney, 489 U.S. at 201 n.9 (“Had the State by the

affirmative exercise of its power removed [the plaintiff]

from free society and placed him in a foster home operated

by its agents, we might have a situation sufficiently

analogous to incarceration or institutionalization to give

rise to an affirmative duty to protect.”).

    Although the First Circuit has not squarely addressed

this issue, see J.R. v. Gloria, 593 F.3d 73, 80 (1st Cir.

2010) (assuming arguendo that such a special relationship

exists between foster children and the state), courts have

found, with apparent unanimity, that such a relationship

exists in the foster-care context.         See, e.g., Yvonne L. v.


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N.M. Dep’t of Human Servs., 959 F.2d 883, 892-94 (10th Cir.

1992); Norfleet v. Ark. Dep’t of Human Servs., 989 F.2d 289,

291-292 (8th Cir. 1993); K.H. v. Morgan, 914 F.2d 846, 851

(7th Cir. 1990); Taylor v. Ledbetter, 818 F.2d 791, 795

(11th Cir. 1987); Doe v. New York City Dep’t of Social

Servs., 649 F.2d 134, 141-42 (2nd Cir. 1981); J.R. v.

Gloria, 599 F. Supp. 2d 182, 194-95 (D. R.I. 2009); Eric L.

ex rel. Schierberl v. Bird, 848 F. Supp. 303, 307 (D. N.H.

1994).

      This court agrees.      The rationale of Youngberg, in

which the court found a special relationship between the

state and involuntarily committed mentally ill patients,

applies with equal force here: “If it is cruel and unusual

punishment to hold convicted criminals in unsafe conditions,

it must be unconstitutional [under the Due Process Clause]

to confine the involuntarily committed -- who may not be

punished at all -- in unsafe conditions.”            457 U.S. at 315-

16.   Likewise, it must be unconstitutional for the state to

take custody of abused and neglected children, arguably more

vulnerable than the plaintiffs in both Estelle and

Youngberg, and fail to make adequate efforts to ensure their


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safety.    The fact that a state’s foster care system, no

matter how deficient, arguably represents an improvement on

the abused child’s prior living conditions does not diminish

this entitlement.     As the Seventh Circuit aptly explained,

“[o]nce   the state assumes custody of a person, it owes him a

rudimentary duty of safekeeping no matter how perilous his

circumstances when he was free.”         K.H., 914 F.2d at 849.

    Two questions remain: (1) what are the contours of this

right? and (2) what standard of culpability applies?              The

Supreme Court offered helpful guidance as to the first

question in Youngberg.      There, the Court observed that

individuals placed involuntarily into state custody are

entitled to “conditions of reasonable care and safety,

reasonably nonrestrictive confinement conditions, and such

training as may be required by these interests.”             Youngberg,

457 U.S. at 324.     In other words, a state violates the Due

Process Clause when it “fails to provide for [the

plaintiff’s] basic human needs -- e.g., food, clothing,

shelter, medical care, and reasonable safety.”             Deshaney,

489 U.S. at 200 (citing Youngberg).

    The question here is whether the Supreme Court’s


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articulation of this right encompasses the following list of

entitlements set forth by Plaintiffs in Count I of the

complaint: (a) the right to “protection from unnecessary

harm” while in state custody; (b) the right to a living

environment that protects foster children’s physical, mental

and emotional safety and well being; (c) the right to

services such as safe and secure foster care placements,

appropriate monitoring and supervision, placement in a

permanent family, and adequate medical, dental, psychiatric,

psychological, and educational services; (d) the right to

treatment and care “consistent with the purpose of the

assumption of custody by DCF;” (e) the right not to be

maintained in custody “longer than is necessary to

accomplish the purposes to be served by taking the child

into custody;” (f) the right to receive care, treatment and

services determined and provided through the exercise of

accepted professional judgment; and (g) the right to be

placed in the least restrictive environment according to a

foster child’s needs.     (Dkt. No. 1, Compl. ¶ 303.)

    Defendants do not challenge that the Constitution

protects the rights discussed in subsections (a) through (d)


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of Count I.    (Dkt. No. 20, Defs.’ Mem. at 77.)          Indeed,

Youngberg’s guarantee of reasonable care and safety clearly

contemplates those rights.      See Youngberg, 457 U.S. at 324.

Defendants do, however, question Plaintiffs’ entitlement to

the rights listed in subsections (e), (f), and (g).

    At this stage in the litigation, the court cannot say

categorically that Plaintiffs have no rights to the

protections sought in subsections (e), (f), and (g).             As

noted, these protections include the right to remain in

state custody no longer than necessary under the

circumstances, the right to receive care and treatment in

accordance with accepted standards of professional judgment,

and the right to be placed in the least restrictive

environment.    (Dkt. No. 1, Compl. ¶ 303.)        Accepting

Plaintiffs’ allegations as true, this court finds it easily

conceivable that Defendants’ failure to provide the above

services deprived Plaintiffs of “conditions of reasonable

care and safety” and “reasonably nonrestrictive confinement

conditions” to which they are entitled.          See Youngberg, 457

U.S. at 324; see also Marisol A. v. Giuliani, 929 F. Supp.

662 (S.D.N.Y. 1996) (“This Court is satisfied that the right


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to be free from harm encompasses the right alleged by

plaintiffs to appropriate conditions and duration of foster

care.”).   But see Eric L. ex rel. Schierberl v. Bird, 848 F.

Supp. 303, 307 (D. N.H. 1994) (dismissing claims relating to

stability in foster care because complaint “pleads no facts

tending to establish that DCYS’s placement of children with

successive foster parents is so devoid of justification as

to give rise to a [Due Process] violation”).

    To be clear, this decision does not imply that a

blanket entitlement exists in all cases to the above

protections; rather, it merely recognizes that Plaintiffs

may, through discovery, show that the denial of these

protections deprived them of reasonable care and safety.

While “not every deviation from ideally safe conditions

constitutes a violation of the [C]onstitution,” Santana v.

Collazo, 714 F.2d 1172, 1183 (1st Cir. 1983), the

Constitution does require the state to make reasonable

efforts to meet the basic needs of these children and keep

them reasonably free from harm.        Youngberg, 457 U.S. at 324.

    The final question concerns the standard of culpability

the court must apply in assessing these alleged violations.


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Defendants argue that Plaintiffs must plausibly allege

“conscience-shocking” conduct as described in County of

Sacramento v. Lewis, 523 U.S. 833, 846 (1998), while

Plaintiffs urge the court to abandon the Lewis standard and

apply the “professional judgment” standard set forth in

Youngberg.

    Youngberg and Lewis are not mutually exclusive.              In

Youngberg, the Supreme Court held that decisions made by

professionals are “presumptively valid” and give rise to

liability “only when the decision by the professional is

such a substantial departure from accepted professional

judgment, practice, or standards as to demonstrate that the

person responsible actually did not base the decision on

such a judgment.”    Youngberg, 457 U.S. at 323.          In adopting

this professional judgment standard, the Court distinguished

Estelle v. Gamble, 429 U.S. 97 (1976), which applied an

arguably more stringent “deliberate indifference” standard

in the context of prisoners’ rights, holding that “[p]ersons

who have been involuntarily committed are entitled to more

considerate treatment and conditions of confinement than

criminals whose conditions of confinement are designed to


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punish.”4   Id. at 321-22.

    Twenty years later, in County of Sacramento v. Lewis,

the Court modified the substantive due process analysis: “in

a due process challenge to executive action, the threshold

question is whether the behavior of the governmental officer

is so egregious, so outrageous, that it may fairly be said

to shock the contemporary conscience.”           523 U.S. at 847 n.8.

Lewis took pains to explain that the deliberate indifference

and professional judgment standards remain good law, serving

as more precise articulations of the broader “shocks-the-

conscience” rule.     See id.    “Rules of due process are not

. . . subject to mechanical application in unfamiliar

territory” and, thus, “[d]eliberate indifference that shocks

in one environment may not be so patently egregious in

another.”   Id. at 850.     In other words, deliberately

indifferent behavior does not always and necessarily shock

    4
      It is far from obvious, however, that the
professional judgment standard creates an appreciably lower
hurdle for plaintiffs in this foster care case. In some
instances it is true that the decision to apply one standard
or the other might affect the outcome, but in this context
the decision seems to matter little. See, e.g., Yvonne L.
v. N.M. Dep’t of Human Servs., 959 F.2d 883, 894 (10th Cir.
1992) (“As applied to a foster care setting we doubt there
is much difference in the two standards.”).

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the conscience, but it may shock the conscience under

certain circumstances.     See J.R. v. Gloria, 593 F.3d 73, 80

(1st Cir. 2010).5    Youngberg also “can be categorized on

much the same terms.”     Lewis, 523 U.S. at 852 n.12.          Thus,

to draw out this comparison, a substantial departure from

accepted professional judgment may shock the conscience

under some circumstances but not others.



    5
      Although J.R. involved a § 1983 claim arising out of
alleged abuse suffered by children in foster care, the court
there applied the deliberate indifference standard. J.R.,
593 F.3d at 73. However, J.R. is distinguishable for
several reasons. First, neither of the parties apparently
raised the issue of Youngberg’s professional judgment
standard, and, therefore, the court never addressed
Youngberg’s applicability. Second, J.R. only involved
allegations of abuse within a foster home, whereas this case
centers on alleged systemic failures within DCF. (Dkt. No.
1, Compl. ¶¶ 164 - 214.) Third, the abuse of the plaintiffs
in J.R. was perpetrated by a third party, not the foster
parents themselves, thus making the case more comparable to
Deshaney. 593 F.3d at 73. Fourth, and finally, the
plaintiffs in J.R. sought damages, not injunctive relief,
which involves different considerations. See, e.g., K.H. v.
Morgan, 914 F.2d 846, 851 (7th Cir. 1990) (“[T]here might of
course be broader liability in an injunctive suit against
[state] officials . . . .”); LaShawn A. v. Dixon, 762 F.
Supp. 959, 996 n.29 (D. D.C. 1991) (noting that a deliberate
indifference standard “may be warranted [in damages claims]
due to the chilling effect that an unfavorable judgment may
have on municipal policymakers”); accord Kenny A. v. Perdue,
No. 1:02-cv-1686, 2004 WL5503780, at *4 (N.D. Ga. Dec. 13,
2004); Braam ex rel. Braam v. State, 81 P.3d 851, 858-59
(Wash. 2003).

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    Plaintiffs, then, are incorrect in suggesting that

Lewis does not apply to this particular substantive due

process claim.6   As the First Circuit unequivocally stated,

“the shocks-the-conscience test . . . governs all

substantive due process claims based on executive, as

opposed to legislative, action.”        Martinez v. Cui, 608 F.3d

54 (1st Cir. 2010) (emphasis in original).

    In sum, to establish a substantive due process claim,

Plaintiffs must show that Defendants’ conduct represented a

substantial departure from accepted professional judgment,

which deprived them of conditions of reasonable care and

safety, and that such conduct shocks the conscience.             Here,

Plaintiffs have alleged that Defendants abdicated their duty

to use professional judgment by placing Plaintiffs in foster

homes that presented known risks of harm, failing to monitor

these improper placements, shuttling them among foster

families without any hope of finding a permanent home,

preventing visitation with parents and siblings, and failing



    6
      One of the lead cases relied upon by Plaintiffs,
Braam ex rel. Braam v. State, 81 P.3d 851 (Wash. 2003), in
fact reaches the same conclusion as this court. Id. at 859-
60.

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to provide various forms of essential treatment.            (See Dkt.

No. 1, Compl. ¶¶ 164 - 214.)       Plaintiffs further allege that

these failures resulted in great physical, mental, and

emotional harm to the Plaintiff class.          (Id.)

    Although Defendants argue that such conduct cannot

possibly rise to the level of conscience shocking, this

court strongly disagrees.      Moreover, all that is required

here is that Plaintiffs demonstrate a plausible entitlement

to relief.   See Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949

(2009).    Notwithstanding Defendants’ arguments to the

contrary, these serious allegations of misconduct, if

proven, may entitle Plaintiffs to relief for a violation of

their substantive due process rights.         Accordingly,

Defendants’ motion to dismiss will be denied with respect to

Count I.

    2.     The Right to Familial Integrity (Count II).

    In Count II, Plaintiffs allege that Defendants deprived

them of liberty, privacy, and associational rights protected

by the First, Ninth, and Fourteenth Amendments.            (See Dkt.

No. 1, Compl. ¶ 305.)     More specifically, Plaintiffs allege

that DCF failed to make appropriate use of kinship


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placements (id. ¶¶ 249-53), that DCF failed to “sustain

family ties and support reunification” (id. ¶¶ 277-78), and

that DCF failed to provide sufficient visitation with

siblings and parents (id. ¶¶ 198, 285).

    The Supreme Court has recognized a right to familial

integrity derived from the broad right to association under

both the First Amendment and the Ninth Amendment’s

reservation of rights to the people.         Roberts v. United

States Jaycees, 468 U.S. 609, 617-20 (1984); Santosky v.

Kramer, 455 U.S. 745, 753 (1982); see also Stanley v.

Illinois, 405 U.S. 645, 651 (1972) (“The integrity of the

family unit has found protection in the due process clause

of the Fourteenth Amendment . . . and the Ninth

Amendment.”).    Federal courts disagree about whether the

right to familial integrity is implicated when a state’s

foster care system inhibits interactions between children

and members of their immediate family.          See, e.g., Kenny A.

v. Perdue, 218 F.R.D. 277, 296 (N.D. Ga. 2003) (right

implicated);    Charlie H. v. Whitman, 83 F. Supp. 2d 476, 513

(D. N.J. 2000) (right not implicated); Marisol A. v.

Giuliani, 929 F. Supp. 662 (S.D.N.Y. 1996)(right not


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implicated); Eric L. v. Bird, 848 F. Supp. 303, 307 (D.N.H.

1994) (right implicated); Aristotle P. v. Johnson, 721 F.

Supp. 1002, 1006 (N.D. Ill. 1989) (right implicated).

    Not surprisingly, the critical factor distinguishing

these cases is how broadly the court construes the right at

issue.   The courts dismissing such claims held that the

right to familial integrity is only implicated when the

state denies children any contact with family members, see,

e.g., Charlie H., 83 F. Supp. 2d at 513, while other courts

have determined that the right is implicated when children

are denied any meaningful contact with family members, see,

e.g., Kenny A., 218 F.R.D. at 296.         This court finds the

latter description more consistent with constitutional

requirements.   The narrow articulation set forth in Charlie

H. and its sister cases would appear to preclude, for

example, a claim by a plaintiff who has been allowed to

visit one of his ten siblings once every five years.             This

standard is far too stringent.         Because Plaintiffs here

allege that they have been denied any meaningful contact

with parents or siblings, Defendants’ motion to dismiss will

be denied with respect to Count II.         Further analysis may be


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appropriate once discovery is completed.

    3.   Procedural Due Process (Count IV).

    When examining procedural due process claims, courts

must take two steps: “the first asks whether there exists a

liberty or property interest which has been interfered with

by the State; the second examines whether the procedures

attendant upon that deprivation were constitutionally

sufficient.”   Gonzalez-Fuentes v. Molina, 607 F.3d 864, 886

(1st Cir. 2010) (quoting Ky. Dep’t of Corr. v. Thompson, 490

U.S. 454, 460 (1989)).     Defendants argue that the Eleventh

Amendment bars this claim, that the cited statutes do not

create protected interests, and that existing procedures

were in any event sufficient.

         a.    Stated-Created Property Interest.

    As an initial matter, Defendants argue that the

Eleventh Amendment bars this claim because it is grounded in

state-created rights.     (Dkt. No. 20, Defs.’ Mem. at 107-08).

Defendants rely on Pennhurst State School and Hospital v.

Halderman, 465 U.S. 89 (1984), which held that the Eleventh

Amendment prohibits federal courts from ordering state

officials to conform their conduct to state law.            Id. at


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104.

       Defendants correctly observe that state law determines

whether a person has a constitutionally protected property

interest.     See Bd. of Regents v. Roth, 408 U.S. 564, 577

(1972) (“Property interests, of course, are not created by

the Constitution.       Rather, they are created and their

dimensions are defined by existing rules or understandings

that stem from an independent source such as state law . . .

.”).    However, even though courts must look to state law to

define the interest underlying a procedural due process

claim, the ultimate issue is one of federal law.               See, e.g.,

Hamm v. Latessa, 72 F.3d 947, 954 (1st Cir. 1995) (“[T]he

question of whether a state law creates a liberty interest

protected by the Due Process Clause is clearly one of

federal constitutional law . . . .”); Henry Paul Monaghan,

Of “Liberty” and “Property”, 62 Cornell L. Rev. 405, 435

(1977) (“The difference between the existence of an interest

-- a matter of state law -- and its significance -- a matter

of federal law -- is firmly established . . . .”).                Thus,

Pennhurst does not prevent federal courts from hearing a

procedural due process claim simply because state law


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defines the property interest at stake.            See, e.g., Williams

v. Commonwealth of Ky., 24 F.3d 1526, 1543-44 (6th Cir.

1994); Brian A. v. Sundquist, 149 F. Supp. 2d 941, 953 (M.D.

Tenn. 2000); Strauss v. Drew, 739 F. Supp. 1231, 1233 (N.D.

Ill. 1990).

            b.   Property Interests.

      Mere expectations, abstract needs, and desires are not

sufficient to create a property interest subject to

procedural due process safeguards.           Roth, 408 U.S. at 577.

Rather, to have a constitutionally protected interest, a

plaintiff must have a “legitimate claim of entitlement” to

it.   Id.   This determination largely depends on the amount

of discretion state law provides the decisionmaker to grant

or deny the benefit.       See Beitzell v. Jeffrey, 643 F.2d 870,

874 (1st Cir. 1981).       Less discretion creates a greater

likelihood that the statute confers a constitutionally

protected interest.       Id. (“[T]he more circumscribed . . .

the government’s discretion (under substantive state or

federal law) to withhold a benefit, the more likely that

benefit constitutes ‘property’ . . . .”).            Two factors

indicating limited discretion are “the repeated use of


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explicitly mandatory language” and “specific substantive

predicates” creating guidelines for the official’s decision.

Hewitt v. Helms, 459 U.S. 460, 472 (1983), abrogated by

Sandin v. Connor, 515 U.S. 472 (1995).7

    Plaintiffs cite several Massachusetts statutes -- Mass.

Gen. Laws ch. 119, §§ 23(c), 26B, 32, and 110 Code Mass.

Regs. 7.124 -- which, they argue, confer various protected

property interests.     Specifically, Plaintiffs assert rights

to (a) “placement of children in private families; early and

periodic screening, diagnostic and treatment standards;

[and] individualized health care plan[s]” under Mass. Gen.

Laws ch. 119, § 32; (b) a “medical passport” under 110 Code

Mass. Regs. 7.124; (c) “sibling visitation” under Mass. Gen.



    7
      The Supreme Court later abrogated Hewitt, but only
insofar as it applied to prison regulations. See Sandin v.
Connor, 515 U.S. 472, 482-84 (1995) (noting the “undesirable
effects” of Hewitt on prison management and ultimately
condemning “the search for a negative implication from
mandatory language in prisoner regulations”); see also Hamm,
72 F.3d at 954 (describing this “tectonic” shift). In fact,
the Court noted the continuing vitality of Hewitt in other
contexts. See Sandin, 515 U.S. at 482 (observing that
Hewitt’s methodology “may be entirely sensible in the
ordinary task of construing a statute defining rights and
remedies available to the general public”).



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Laws ch. 119, § 26B; and (d) “placement with relatives,

other adult persons who have played significant positive

roles in the child’s life, and any minor siblings or half-

siblings” under Mass. Gen. Laws ch. 119, § 23(c).            (Dkt. No.

1, Compl. ¶ 309.)

    Defendants’ motion does not challenge (nor does it

expressly concede) Plaintiffs’ assertion that they have

rights to early and periodic screening, diagnostic and

treatment standards, individualized health care plans, and

medical passports, as set forth in Mass. Gen. Laws ch. 119,

§ 32 and 110 Mass. Code Regs. 7.124.         (See Dkt. No. 20,

Defs.’ Mem. at 111-12.)      Defendants’ silence in the face of

the mandatory language employed in the cited statutes speaks

volumes.   See Mass. Gen. Laws ch. 119, § 32 (stating that

DCF “shall insure that every foster child upon entry into

the foster care system shall be screened and evaluated under

the early and periodic screening, diagnostic and treatment

standards established by Title XIX of the Social Security

Act”) (emphasis added); see also 110 Mass. Code Regs. 7.124

(mandating that DCF “shall implement a program of

utilization of a ‘medical passport’ for all children in


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substitute care”) (emphasis added).         Clearly these statutes

create property interests subject to protection under the

Constitution’s due process clause.

    As to the remaining property interests asserted under

Count IV, Defendants argue that the relevant statutory

provisions do not create such entitlements because they are

conditioned on a determination by DCF that the action is in

“the best interests of the child.”         Under Mass. Gen. Laws

ch. 119, § 26B, for instance, DCF “shall, whenever

reasonable and practical and based upon a determination of

the best interests of the child, ensure that children placed

in foster care shall have access to and visitation with

siblings . . . .”    While such provisions vest significant

discretion in DCF, the court is not persuaded by Defendants’

arguments.

    Grants of discretion, even broad discretion, to a

decisionmaker are not inevitably dispositive of a due

process claim.   In fact, on at least two occasions the

Supreme Court has found that state law created a

constitutionally protected interest despite vesting “very

broad discretion” in state officials.         Bd. of Pardons v.


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Allen, 482 U.S. 369, 382 (1987); Greenholtz v. Nebraska

Penal Inmates, 442 U.S. 1, 13 (1979).         Given that Allen and

Greenholtz involved parole statutes, they are not,

admittedly, directly controlling.        See Greenholtz, 442 U.S.

at 12 (“Whether any other state statute provides a

protectible entitlement must be decided on a case-by-case

basis.”).   The Court’s reasoning, however, is instructive.

    In Allen, one regulation at issue required that parole

“shall be ordered” if certain conditions are met, including

a condition that parole is in “the best interests of

society.”   482 U.S. at 376 (quoting Mont. Code Ann. § 46-23-

201 (1985)).   Concluding that these regulations created a

constitutionally protected interest, the Court reiterated

its earlier holding in Greenholtz that such discretion was

“not incompatible with the existence of a [protected]

interest . . . when [specific action] is required after the

Board determines (in its broad discretion) that the

necessary prerequisites exist.”        Id. (emphasis in original).

    While this case arises in a different context, the

critical issue is markedly similar.         The relevant provisions

of Massachusetts state law mandate that children in DCF


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custody “shall be placed in private families,” Mass. Gen.

Laws ch. 119, § 32 (emphasis added), that DCF “shall . . .

ensure that [such] children shall have access to and

visitation with siblings,” Mass. Gen. Laws ch. 119, § 26B(b)

(emphasis added), and that DCF “shall immediately commence a

search to locate any relative of the child or other adult

person who has played a significant positive role in that

child’s life,” Mass. Gen. Laws ch. 119, § 23(c) (emphasis

added).   While these provisions are conditioned on the

looser requirement that such action be in the “best

interests of the child,” e.g., Mass. Gen. Laws ch. 119, §

26B(b), once this prerequisite is met the law requires DCF

to take the above actions.

    In addition, although the “best interests” standard is

somewhat vague, it is a far cry from laws that provide

“unfettered discretion” to state officials.           See, e.g., Olim

v. Wakinekona, 461 U.S. 238, 249 (1983) (finding no

protected interest where regulation provided “unfettered

discretion” and decisionmaker could “deny the requested

relief for any constitutionally permissible reason or for no

reason at all”).    Rather, it presents children in DCF


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custody with an assurance that the state will provide the

above benefits as long as those benefits reflect the child’s

best interests.    Assuming that children have a significant

interest in growing up in a private home rather than an

institution, and in maintaining ties with their parents and

siblings -- assumptions that are virtually self evident -- a

decision not to provide these benefits requires considerable

evidence of countervailing risks of harm.          In reality, then,

these statutes limit DCF’s discretion much more than a

cursory reading might suggest.

    In sum, Plaintiffs’ asserted interests under Mass. Gen.

Laws ch. 119, §§ 32, 26B, and 23(c) are more than abstract

needs or desires; they are legitimate claims of entitlement.

See Roth, 408 U.S. at 577; see also Jones-Booker, 16 F.

Supp. 2d at 58-60 (finding that plaintiff had a legitimate

entitlement to compensation under Federal Employees

Compensation Act (“FECA”) because FECA mandated that “the

United States shall pay compensation” unless the injury or

death fell within one of three exceptions).           These interests

are therefore subject to protection under the due process

clause.


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            c.   What Process is Due.

     The final step in the due process analysis requires

this court to determine whether the state has provided

sufficient procedural safeguards before depriving Plaintiffs

of these protected interests.           It is too early to resolve

this issue.      Discovery will give the parties the opportunity

to produce evidence and to argue the antecedent issue of

whether a deprivation in fact occurred.           Only at that time

will the court be able to make an informed decision about

the sufficiency of the state’s pre-deprivation process.

See, e.g., Marisol A. v. Giuliani, 929 F. Supp. 662

(S.D.N.Y. 1996) (“Whether, as defendants argue, state law

affords plaintiffs a mandatory review procedure which would

satisfy due process and whether plaintiffs have been

deprived of that process are matters better left for

trial.”).     Since the court is not now in a position to make

such a fact-bound decision, Defendants’ motion to dismiss

will be denied with respect to Count IV.

E.   Plaintiffs’ Statutory Claims under the AACWA (Count
     III).

     Section 1983 provides a cause of action against any



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person acting under color of state law who deprives a person

of “rights, privileges, or immunities secured by the

Constitution and laws.”        42 U.S.C. § 1983.        However, “[n]ot

all violations of federal law give rise to § 1983 actions:

‘[the] plaintiff must assert the violation of a federal

right, not merely a violation of federal law.’”              Rio Grande

Cmty. Health Ctr. v. Rullan, 397 F.3d 56, 72 (1st Cir. 2005)

(quoting Blessing v. Freestone, 520 U.S. 329, 340 (1997))

(emphasis in original).        Such a right must be “unambiguously

conferred” by the statutory provision at issue.              Id. at 72-

73.   The Supreme Court has laid out a three-part test to

determine whether a provision creates a “right” that is

enforceable under § 1983.        Courts must consider (1) whether

the provision contains “rights-creating language”; (2)

whether the provision had an aggregate as opposed to an

individualized focus; and (3) whether the statute contains

another enforcement mechanism through which an aggrieved

individual can obtain review.8           Gonzaga Univ. v. Doe, 536

      8
      Gonzaga refined the earlier three-part test set forth
in Blessing, which considered: (1) whether Congress intended
that the provision in question benefit the plaintiff; (2)
whether the right supposedly protected by the statute is
vague and amorphous so that its enforcement would strain

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U.S. 273, 287-90 (2002) (holding that a provision of the

Family Educational Rights and Privacy Act did not create a

privately enforceable right).          “This test is merely a guide,

however, as the ultimate inquiry is one of congressional

intent.”    Rio Grande, 397 F.3d at 73.

    The AACWA, which constitutes Parts B and E of Title IV

of the Social Security Act, is a federal spending statute

under which the federal government reimburses states for

expenses incurred in administering foster care and adoption

services.   Funding is conditioned upon the state satisfying

a series of requirements imposed by the Act, which includes

submitting a state plan for the provision of foster care and

adoption assistance approved by the Secretary of Health and

Human Services.

    Defendants assert that Count III, which alleges

multiple violations of the AACWA, should be dismissed

because the AACWA does not confer private rights.            More



judicial competence; and (3) whether the provision
unambiguously imposes a binding obligation on the States.
Blessing, 520 U.S. at 340. The First Circuit acknowledged
this distinction and followed the language used in Gonzaga.
See Rio Grande, 397 F.3d at 73. This court, then, will do
the same.

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specifically, they argue that (1) the Act is generally

unenforceable because it merely encourages states to take

certain actions to receive federal funding; and (2) the

specific provisions relied on by Plaintiffs fail the test

set forth in Gonzaga University v. Doe, 536 U.S. 273 (2002).

For the reasons discussed below, this court holds that the

Act does create privately enforceable rights in the cited

provisions.

       1.   General Enforceability of the AACWA.

       Defendants first argue that the Act is generally

unenforceable because it ties federal funding to substantial

conformity with state plan requirements and allows states to

improve their operations before funding is withheld.                Thus,

Defendants reason, the statute only creates “system-wide

goals” as opposed to rights.          (Dkt. No. 20, Defs.’ Mem. at

99.)

       This argument is foreclosed by Lynch v. Dukakis, 719

F.2d 504 (1st Cir. 1983), in which the First Circuit

considered a nearly identical class action brought by

children in the Massachusetts foster care system under the

then-newly instituted AACWA seeking relief for alleged


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failures of DCF (then “DSS”) to comply with case plan and

review obligations.      In Lynch, the First Circuit rejected

the defendants’ argument that “the existence of the

Secretary’s power to withhold federal funds from states

precludes individual enforcement of rights against the

states.”   Id. at 510-11.     The court then expressly held that

the AACWA confers an enforceable right to a case plan

documenting the steps taken to identify and secure a

permanent home.    Id.    Thus, the fact that the AACWA requires

states to comply with its regulations in order to receive

federal funding does not preclude a finding that the statute

also confers privately enforceable rights.9

    9
       Defendants attempt, unsuccessfully, to bolster this
argument by relying on the Supreme Court’s decision in Suter
v. Artist M., 503 U.S. 347 (1992). In Suter, the Supreme
Court held that Section 671(a)(15), a single provision of
the AACWA (not at issue here) providing that “reasonable
efforts shall be made to preserve and reunify families,” did
not create a private right of action because it was too
vague. Id. at 363. Suter also contained dicta implying
that the AACWA as a whole might not be privately enforceable
because of the statute’s requirement that states prepare and
file a “plan,” which conditioned federal funding on
substantial compliance with the plan. See id. at 358.
     Two years later, concerned that “Suter v. Artist M.
affects . . . the enforceability of [AACWA]” and that it
“could result in the elimination of the ability of
beneficiaries of the State plan titles of the Social
Security Act, primarily children and families, to sue to

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    2.   Applying the Gonzaga Test to Individual Provisions
         of the AACWA.

    Plaintiffs assert two rights under the AACWA: (1) a

right to a case plan containing documentation of the steps

taken to identify and secure a permanent home pursuant to 42

U.S.C. §§ 671(a)(16)10 and 675(1)(E); and (2) a right to

foster care maintenance payments paid to foster care

providers pursuant to 42 U.S.C. §§ 671(a)(1), 671(a)(11),

671(a)(12), 672(a)(1), and 675(4)(A).

    With respect to Plaintiffs’ asserted right to a case

plan, Section 671(a)(16) reads as follows:



enforce the Act’s requirements,” H.R. Rep. No. 102-631, at
300, Congress unequivocally responded by enacting what has
become known as the “Suter fix,” an amendment to the Social
Security Act that disclaimed any intent to foreclose private
rights of action under the AACWA and the other “State plan”
titles of the Social Security Act. See 42 U.S.C. § 1320a-2
(stating that provisions of the Social Security Act are “not
to be deemed unenforceable because of [their] inclusion in a
section of the Act requiring a State plan or specifying the
required contents of a State plan”).
    10
       Although § 671(a)(16) does not appear in the
complaint, Plaintiffs’ briefs make it clear that they are
asserting a right to an individualized case plan under §
671(a)(16) in conjunction with § 675(1)(E), which merely
defines the term “case plan.” The absence of this provision
in the complaint appears to be a simple oversight, which
Defendants do not challenge in their briefs and which this
court need not concern itself with here.

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    In order for a State to be eligible for payments
    under this [statute], it shall have a plan
    approved by the Secretary which . . .

          (16) provides for the development of a case plan
          (as defined in section 675(1) of this title) for
          each child receiving foster care maintenance
          payments under the State plan and provides for a
          case review system which meets the requirements
          described in section 675(5)(B) of this title with
          respect to each such child.

42 U.S.C. § 671(a)(16).       Section 675(1)(E) then defines

“case plan.”11

    With respect to Plaintiffs’ asserted right to foster

care maintenance payments, §§ 671(a)(1),671(a)(11), and

671(a)(12) read as follows:

    In order for a State to be eligible for payments
    under this [statute], it shall have a plan
    approved by the Secretary which . . .



    11
       “The term ‘case plan’ means a written document which
includes at least the following: . . . In the case of a
child with respect to whom the permanency plan is adoption
or placement in another permanent home, documentation of the
steps the agency is taking to find an adoptive family or
other permanent living arrangement for the child, to place
the child with an adoptive family, a fit and willing
relative, a legal guardian, or in another planned permanent
living arrangement, and to finalize the adoption or legal
guardianship. At a minimum, such documentation shall include
child specific recruitment efforts such as the use of State,
regional, and national adoption exchanges including
electronic exchange systems to facilitate orderly and timely
in-State and interstate placements.” 42 U.S.C. § 675(1)(E).

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         (1) provides for foster care maintenance payments
         in accordance with section 672 of this title and
         for adoption assistance in accordance with section
         673 of this title;

         . . . .

         (11) provides for periodic review of the standards
         referred to in the preceding paragraph and amounts
         paid as foster care maintenance payments and
         adoption assistance to assure their continuing
         appropriateness;

         (12) provides for granting an opportunity for a
         fair hearing before the State agency to any
         individual whose claim for benefits available
         pursuant to this part is denied or is not acted
         upon with reasonable promptness.

42 U.S.C. §§ 671(a).     Section 672 contains similar language,

stating that “each State with a plan approved under this

part shall make foster care maintenance payments” if certain

conditions are met.     42 U.S.C. § 672(a)(1).        Section

675(4)(A) defines “foster care maintenance payments.”12

    12
       “The term ‘foster care maintenance payments’ means
payments to cover the cost of (and the cost of providing)
food, clothing, shelter, daily supervision, school supplies,
a child's personal incidentals, liability insurance with
respect to a child, reasonable travel to the child's home
for visitation, and reasonable travel for the child to
remain in the school in which the child is enrolled at the
time of placement. In the case of institutional care, such
term shall include the reasonable costs of administration
and operation of such institution as are necessarily
required to provide the items described in the preceding
sentence.” 42 U.S.C. § 675(4)(A).

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    Federal courts are divided as to whether the AACWA

creates privately enforceable rights to either a case plan13

or foster care maintenance payments.14         As noted, the First

Circuit in Lynch held that the AACWA confers an enforceable

right to a case plan under § 671(a)(16) containing the

elements required in § 675(1) -- two provisions at issue

here.    However, the second of these two provisions, §

675(1), was amended in 1997 to add subsection (E), which is




    13
       A majority of courts has found that the AACWA
establishes a privately enforceable right to a case plan.
See, e.g., L.J. v. Massinga, 838 F.2d 118, 124 (4th Cir.
1988); Lynch, 719 F.2d at 512; Clark K., 2007 WL 1435428, at
*10; Kenny A., 218 F.R.D. at 292; Jeanine B. ex rel.
Blondis v. Thompson, 877 F. Supp. 1268, 1283-84 (E.D. Wis.
1995); B.H. v. Johnson, 715 F. Supp. 1387 (N.D. Ill. 1989).
But see 31 Foster Children, 329 F.3d at 1271-72; Carson P.,
240 F.R.D. at 544; Olivia Y., 351 F. Supp. at 562; Charlie
H., 83 F. Supp. at 489.
    14
       A majority of courts also has found that the AACWA
establishes a privately enforceable right to foster care
maintenance payments. See, e.g., Cal. State Foster Parent
Ass’n v. Wagner, 624 F.3d 974, 980 (2010); C.H. v. Payne,
683 F. Supp. 2d 865, 877 (S.D. Ind. 2010); Cal. Alliance of
Child and Family Servs. v. Allenby, 459 F. Supp. 2d 919, 925
(N.D. Cal. 2006); Mo. Childcare Ass’n v. Martin, 241 F.
Supp. 2d 1032, 1040-41 (W.D. Mo. 2003); Kenny A., 218 F.R.D.
at 292; LaShawn A., 762 F. Supp. at 989. But see D.G. v.
Henry, 594 F. Supp. 2d 1273, 1278 (N.D. Okla. 2009); Carson
P. v. Heineman, 240 F.R.D. at 540-41.

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the particular subsection Plaintiffs rely upon in this

litigation.   Thus, although the right to a case plan was

clearly upheld in Lynch, the First Circuit did not squarely

address the right Plaintiffs are now asserting, which

requires this court to conduct an independent analysis.15

    Each of the above provisions satisfies the first

Gonzaga factor.    As noted, the first Gonzaga factor requires

“rights-creating language,” which consists of “mandatory,

rather than precatory, terms.”         536 U.S. at 295 (quoting

Blessing, 520 U.S. at 340-41).         Additionally, the rights

should be “phrased in terms of the persons benefitted . . .

with an unmistakable focus on the benefitted class” and

contain “individually focused terminology.”           Id. at 284

(quoting Cannon v. Univ. of Chicago, 441 U.S. 677, 691

(1979)) (emphasis in original).

    Such language is readily discernible in the above-cited



    15
       While the provisions at issue in Lynch are not
identical to the provisions at issue here, this distinction
is ultimately inconsequential. Section 675(1) merely lists
the elements that constitute a “case plan” under the other
sections of the Act, and the Gonzaga analysis, as explained
in text, is unaffected by the differences in these elements.



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provisions.   For instance, each provision expresses a clear

mandate by using the term “shall.”         See, e.g., 42 U.S.C. §

671(a)(16) (requiring that states “shall have a plan

approved by the Secretary which . . . provides for the

development of a case plan (as defined in section 675(1) of

[AACWA]) for each child receiving foster care maintenance

payments under the State plan”) (emphasis added); 42 U.S.C.

§ 672(a)(1) (requiring that “each State with a plan approved

under this part shall make foster care maintenance payments

on behalf of each child”) (emphasis added).

    Each of the cited provisions similarly discusses how

the state must distribute benefits to each child.            See,

e.g., id. (requiring that states “shall have a plan approved

by the Secretary which . . . provides for the development of

a case plan (as defined in section 675(1) of [AACWA]) for

each child receiving foster care maintenance payments under

the State plan . . . .”) (emphasis added); 42 U.S.C. §

672(a)(1) (requiring that “each State with a plan approved

under this part shall make foster care maintenance payments

on behalf of each child”) (emphasis added).           Plainly, these

directives are both couched in mandatory terms and are


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unmistakably focused on the benefitted class, i.e., foster

children.

    The second Gonzaga factor also favors a finding that

the AACWA creates privately enforceable rights; the cited

provisions indisputably have an “individualized,” rather

than “aggregate,” focus.      See Gonzaga, 536 U.S. at 288.

Provisions with an aggregate focus “speak only in terms of

institutional policy and practice” and “are not concerned

with whether the needs of any particular person have been

satisfied.”   Id.   The fact that these provisions are

“embedded within the requirements for a state plan” does not

transform them into an institutional policy.           See Rio

Grande, 397 F.3d at 74 (“The mere fact that all the Medicaid

laws are embedded within the requirements for a state plan

does not, by itself, make all of the Medicaid provisions

into ones stating a mere institutional policy or practice

rather than creating an individual right.”).           Moreover, as

observed above, the AACWA provisions repeatedly refer to

“each child,” thus illustrating an individualized focus.

See Cal. State Foster Parent Ass’n v. Wagner, 624 F.3d 974,

980 (2010) (distinguishing AACWA from statute at issue in


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Gonzaga and stating that § 672 of the AACWA, which provides

for foster care maintenance payments, “focuses squarely on

the individuals protected, rather than the entities

regulated”).

       These provisions also satisfy the third Gonzaga factor

because the AACWA does not contain an alternative

enforcement mechanism.        In Gonzaga, the Supreme Court noted

that students and parents who suspected a violation of the

Family Educational Rights and Privacy Act could file written

complaints with a federal review board, thereby triggering

an investigation and the possibility of relief.               536 U.S. at

288.    In contrast, Congress provided for no individualized

federal review mechanism in the AACWA.             See H.R. Rep. No.

102-631, at 365 (“[T]here is no procedure . . . by which

program beneficiaries can trigger a [Department of Health

and Human Services] investigation or compliance proceeding

for a State’s failure to have a plan that meets the State

plan requirements or to administer such a plan in accordance

with such requirements.”).         While Defendants argue that the

AACWA establishes a “comprehensive review and enforcement

infrastructure” by requiring periodic review to determine


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which states are in substantial conformity with the Act,

(Dkt. No. 20, Defs.’ Mem. at 98), this purely institutional

review process is not the same as an individualized

enforcement mechanism.     See Lynch, 719 F.2d at 510-11

(holding that “nothing in the language or structure of Title

IV-E suggests that Congress meant section 671(b) [which

provides for periodic review by the Secretary] to be an

exclusive remedy”); 31 Foster Children v. Bush, 329 F.3d

1255, 1272 (11th Cir. 2003) (holding that the Act “contains

no mechanism by which aggrieved individuals can enforce its

provisions”).

    In sum, application of the Gonzaga factors makes it

clear that Congress intended to create privately enforceable

rights to individualized case plans and foster care

maintenance payments under the AACWA.         Accordingly,

Defendants’ motion to dismiss will be denied with respect to

Count III.

                          IV. CONCLUSION

    For the foregoing reasons, Defendant Patrick’s Motion

to Dismiss (Dkt. No. 17) and Defendants’ Motion to Dismiss

(Dkt No. 18) are hereby DENIED in their entirety.            Due to


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time constraints, the hearing on the Motions to Dismiss left

inadequate time for argument regarding Plaintiffs’ pending

Motion for Class Certification (Dkt. No. 2).           The clerk will

set a date for further argument on this motion.

    It is So Ordered.

                                       /s/ Michael A. Ponsor
                                        MICHAEL A. PONSOR
                                        U. S. District Judge




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